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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------x
 UNITED STATES OF AMERICA,                                      :
                                                                :    15 Cr. 867 (RMB)
                           - against -                          :
                                                                :   DECISION & ORDER
 HALKBANK                                                       :
                                     Defendants.                :
 ---------------------------------------------------------------x

            Having carefully reviewed the record herein, including without limitation: (1) the Halkbank

     Indictment, dated October 15, 2019; (2) Halkbank’s motion to dismiss the Indictment, dated August 10,

 2020; (3) the Government’s opposition to the motion to dismiss, dated August 31, 2020; (4) Halkbank’s

     reply brief, dated September 8, 2020; (5) the oral argument held on September 18, 2020, and (6) all prior

     related proceedings, the Court denies Halkbank’s motion to dismiss as follows: 1

I.      Background

            On October 15, 2019, Türkiye Halk Bankasi A.S. (“Halkbank”) was charged in a six count

  Indictment with the following crimes: Count One - Conspiracy to Defraud the United States in violation

     of 18 U.S.C. § 371; Count Two - Conspiracy to Violate the International Emergency Economic Powers

     Act (“IEEPA”) in violation of 50 U.S.C. § 1705, Executive Orders 12959, 13059, 13224, 13599, 13622,

     & 13645, and 31 C.F.R. §§ 560.203, 560.204, 560.205, 561.203, 561.204, & 561.205; Count Three -

  Bank Fraud in violation of 18 U.S.C. §§ 1344 and 2; Count Four - Conspiracy to Commit Bank Fraud in

     violation of 18 U.S.C. § 1349; Count Five - Money Laundering in violation of 18 U.S.C. §§

     1956(a)(2)(A) and 2; and Count Six - Conspiracy to Commit Money Laundering in violation of 18 U.S.C.

     § 1956(h). See Indictment at 35-41. 2




 1
   Any issues or arguments raised by the parties but not specifically addressed in this Decision and
  Order have been considered by the Court and rejected.
 2
  Halkbank is one of Turkey’s largest state-owned banks. See Eric Lipton, U.S. Indicts Turkish Bank on
 Charges of Evading Iran Sanctions, New York Times (Oct. 15, 2019).
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       According to the Government: “[t]he Indictment alleges that Halkbank participated in transactions

designed to extract surreptitiously Iran’s oil and gas proceeds held at the bank, so that those funds could

be used to make international payments through the U.S. financial system on behalf of Iran while hiding

Iran’s control of those transactions, and lied to Treasury Department officials in the United States to

conceal the scheme and evade applicable sanctions.” See Opp. at 10; Indictment at 2-4, 21-26, 34. “The

scheme involved fraudulent gold and humanitarian trade transactions run through Halkbank.” Opp. at 3.

“Through these methods, Halkbank illicitly transferred approximately $20 billion worth of otherwise

restricted Iranian funds.” Indictment at 3. “As alleged, at least approximately $1 billion was laundered

through the U.S. on behalf of the Government of Iran and Iranian entities.” Opp. at 3.

       One of Halkbank’s alleged co-conspirators, Reza Zarrab, a dual citizen of Turkey and Iran, pled

guilty before this Court on October 26, 2017 to designing the sanctions evasion scheme. Another of

Halkbank’s alleged co-conspirators, Mehmet Hakan Atilla, who was the Deputy General Manager of

International Banking at Halkbank, was convicted by an S.D.N.Y. jury on January 3, 2018 of conspiracy

to defraud the United States; conspiracy to violate the IEEPA and the Iranian Transactions and Sanctions

Regulations (“ITSR”); bank fraud; conspiracy to commit bank fraud; and conspiracy to commit money

laundering. See May 16, 2018 Judgment. Atilla was sentenced to 32 months imprisonment (and he

completed his sentence). Id. On July 20, 2020, the Second Circuit affirmed Atilla’s conviction and

sentence. See discussion of Second Circuit ruling at pp.5-6 infra.

Prior Related Motions to Dismiss

       On July 18, 2016, Zarrab moved to dismiss the March 30, 2016 Indictment against him which

charged Zarrab with conspiracy to defraud the United States; conspiracy to violate the IEEPA; conspiracy

to commit bank fraud; and conspiracy to commit money laundering. In his motion, Zarrab raised some of

the same issues which are raised here. Among other things, Zarrab contended that: the alleged conspiracy

to defraud the U.S. Office of Foreign Assets Control (“OFAC”) “occurred entirely abroad;” the IEEPA

and bank fraud statutes “do[] not apply extraterritorially;” “the indictment fails to allege a conspiracy to

commit bank fraud;” and “conspiracy to commit money laundering is an improper duplicative charge [of

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   the IEEPA charge].” See July 18, 2016 Mot. at 4, 25, 33, 35; Aug. 22, 2016 Reply at 11-12, 17. Following

   briefing, by Decision & Order, dated October 17, 2016, the Court denied Zarrab’s motion to dismiss. See

   United States v. Zarrab, 2016 WL 6820737, at *4, 8, 12, 15-16 (S.D.N.Y. Oct. 17, 2016) (“The

  Indictment alleges a violation of § 371 against Zarrab and his co-conspirators;” “the Indictment alleges a

  domestic nexus between Zarrab and his co-conspirators’ conduct and the United States, i.e. the

   exportation of services from the United States;” “the Indictment clearly states the elements of a

   conspiracy to commit bank fraud;” and “Zarrab’s argument that the conspiracy to commit money

   laundering charge ‘merges’ with the IEEPA [count] . . . is unpersuasive”).

             On October 9, 2017, Atilla moved to dismiss the September 6, 2017 Indictment against him.

      Atilla’s motion raised some of the same issues which are raised here. In his motion, Atilla contended,

      among other things, that he “cannot be charged with activity that is exclusively foreign based with no

      direct U.S. effect;” “there is no allegation linking Atilla with the U.S;” and the IEEPA and ITSR cannot

      be applied extraterritorially to a foreign national. See Oct. 9, 2017 Mot. at 4, 13, 16. On November 16,

   2017, after briefing, the Court denied Atilla’s motion to dismiss. See Nov. 16, 2017 Tr. at 12:5-22:7 (“The

   Second Circuit Court of Appeals has made it abundantly clear that the execution of money transfers from

   the United States to Iran on behalf of another . . . constitutes the exportation of a service and may be in

   violation of IEEPA and ITSR.” Id. at 19:22-20:1; “the indictment . . . reflects the elements of each count

   in the indictment and establishes a sufficient nexus between Mr. Atilla and his co-conspirators’ conduct

      and the United States . . . Mr. Atilla is charged with participating in the same conspiracies as eight other

      defendants, i.e., at its core, circumventing U.S. sanctions against Iran via Halkbank.” Id. at 20:24-22:13;

   “Mr. Atilla is [also] alleged to have . . . lied to U.S. regulators.” Id. at 15:18-20).

II.      Legal Standard

             “[T]he indictment has a strong presumption of validity . . . [and is] only rarely dismissed.” United

      States v. Cornielle, 171 F.3d 748, 752 (2d Cir. 1999). “An indictment . . . if valid on its face . . . is enough

      to call for trial of the charge[s] on the merits.” Costello v. U.S., 350 U.S. 359, 409 (1956). “The dismissal

      of an indictment is an ‘extraordinary remedy’ reserved only for extremely limited circumstances

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implicating fundamental rights.” See United States v. De La Pava, 268 F.3d 157, 165 (2d Cir. 2001). “An

indictment need only provide sufficient detail to assure against double jeopardy and state the elements of

the offense charged, thereby apprising the defendant of what he must be prepared to meet.” United States

v. Tramunti, 513 F.2d 1087, 1113 (2d Cir. 1975).

       There is “a substantial public interest in ensuring that the Government may pursue prosecutions

based upon indictments that are legally sufficient.” United States v. Samia, 2017 WL 980333, at *3

(S.D.N.Y. Mar. 13, 2017); United States v. Fields, 592 F.2d 638, 648 (2d Cir. 1978). “In reviewing a

motion to dismiss an indictment, the Court must take the allegations of the indictment as true.” See United

States v. Avenatti, 432 F.Supp.3d 354, 360-61 (S.D.N.Y. 2020) (citing Boyce Motor Lines v. United

States, 342 U.S. 337, 343 n. 16 (1952)); New York v. Tanella, 374 F.3d 141, 148 (2d Cir. 2004).

       “The standard for the sufficiency of an indictment is not demanding and requires little more than

that the indictment track the language of the statute charged and state the time and place (in approximate

terms) of the alleged crime.” United States v. Hayes, 811 Fed. App’x 30, 37 (2d Cir. 2020) (citing United

States v. Balde, 943 F.3d 73, 89 (2d Cir. 2019)) (internal citations omitted).

       “The law of the case [doctrine] . . . expresses the practice of courts generally to refuse to reopen

what has been decided.” See Colvin v. Keen, 900 F.3d 63, 68 (2d Cir. 2018) (internal citations and

quotations omitted). “When a court has ruled on an issue, that decision should generally be adhered to by

that court in subsequent stages in the same case.” United States v. Uccio, 950 F.2d 753, 758 (2d Cir.

1991). “The court has discretion to apply the law of the case doctrine, notwithstanding a ‘difference in

parties,’ provided that doing so would be consistent with the court’s ‘good sense.’” See S.E.C. v. Penn,

2020 WL 1272285, at *3 (S.D.N.Y. Mar. 17, 2020). “A late-added party, or a co-party who did not

participate in the proceedings that led to the first ruling, might be required to show reasons to doubt the

adequacy of the underlying argument or of the ruling itself.” See 18B Charles Alan Wright & Arthur R.

Miller, Federal Practice and Procedure § 4478.5 (2d ed.).




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III.   Second Circuit Court of Appeals July 20, 2020 Decision in the Atilla Case

            On September 18, 2020, at the oral argument of Halkbank’s motion to dismiss, both Halkbank and

   the Government sought to rely upon the Second Circuit’s decision in United States v. Atilla, 966 F.3d 118

   (2d Cir. 2020). According to the defense, “the Second Circuit’s opinion in Atilla stands for one thing and

   one thing only . . . evasion of secondary sanctions is not a crime.” See Sept. 18, 2020 Tr. at 34:14-16.

   “Halkbank was indicted on the assumption that the entire $20 billion . . . was unlawful because it violated

   secondary sanctions, and the Second Circuit said, no, that’s not the law.” Id. at 35:13-17.

            The Government counters that “the Atilla decision is a ruling of the Second Circuit with respect to

   the very scheme alleged in this [Halkbank’s] indictment and is controlling. The Second Circuit [] viewed

   the . . . allegations underlying the scheme and concluded that [the allegations] support IEEPA conspiracy

   involving primary sanctions, bank fraud conspiracy, money laundering conspiracy and . . . bank fraud.”

   Id. at 33:14-21. “In affirming Atilla’s convictions . . . the Second Circuit . . . necessarily found that the

   scheme contemplated laundering the money through the U.S. financial system.” Id. at 20:23-25; see also

   Reenat Sinay, “Feds Say 2nd Circ. Ruling Bolsters Halkbank Sanctions Case,” Law360.com (Sept. 18,

   2020).

            In the Court’s view, the Second Circuit ruling stands for several relevant propositions. First and

   foremost, the Second Circuit affirmed Atilla’s convictions and sentence for conspiracy to defraud the

   U.S., conspiracy to violate the IEEPA, bank fraud, conspiracy to commit bank fraud, and conspiracy to

   commit money laundering. See United States v. Atilla, 966 F.3d 118 (2d Cir. 2020). Second, the Second

   Circuit rejected “secondary sanctions liability” under the IEEPA but affirmed Atilla’s conviction under

   the Government’s alternate primary sanctions theory that “Atilla conspired to violate the IEEPA by

   exporting services (including the execution of U.S. dollar transfers) from the United States to Iran in

   violation of the ITSR [Iranian Transactions and Sanctions Regulations].” Atilla, 966 F.3d at 127. Third,

   the evidence of Atilla’s convictions was “overwhelming” and “demonstrated that the purpose of the

   scheme was to convert Iranian oil proceeds held at Halkbank into a form that could be used to fund

   international payments on behalf of the Government of Iran.” Id. at 128-29. “These international

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payments were likely to pass through the U.S. financial system” and “senior-level executives at Halkbank

knew the particulars of the scheme, including the importance of the international payments and of U.S.

dollar transactions.” Id. at 121-22, 128-29. “Atilla wanted the Iranian transactions to remain obscured by

Zarrab because Atilla knew that they violated U.S. sanctions on Iran.” Id. at 129. Fourth, that “Atilla

repeatedly lied to Treasury officials to conceal the sanctions avoidance scheme . . . [and] he was aware

that the scheme involved international payments through U.S. banks that were violations of U.S.

sanctions.” Id. 3



3

Among the evidence adduced at Atilla’s trial were meetings between and among Atilla and U.S. Treasury
officials Adam Szubin, former Director of OFAC, and David Cohen, former U.S. Undersecretary of the
Treasury for Terrorism and Financial Intelligence. These meetings took place both in the U.S. and in
Turkey. Indeed, some of these meetings took place at the U.S. Department of Treasury in Washington
D.C. See Dec. 7, 2017 Tr. at 1082, 1083:17-19; see also Dec. 12, 2017 Tr. at 1413:6-10; 1474:16-17.

A meeting at the U.S. Department of Treasury in Washington D.C. in March 2012 is reflected in the
following trial testimony: AUSA Lockard: “On March 14, 2012, where was the meeting held?” Cohen:
“In my office at the Treasury Department.” AUSA Lockard: “Who were the participants in that meeting?”
Cohen: “Mr. Atilla and Mr. Aslan [the former General Manager of Halkbank] . . . the Halkbank
executives were in Washington for a meeting.” AUSA Lockard: “What were the topics that you discussed
with Mr. Atilla and Mr. Aslan at this meeting in March?” Cohen: “[I]ssues relating to Iran sanctions . . .
They told us that they . . . were not allowing Iran to acquire gold . . . using the proceeds that Halkbank
was holding for Iran from the sale of oil . . . [W]e were assured that . . . they understood that Iran would
look to use deceptive practices to evade sanctions and [] that they had mechanisms in place at the bank to
ensure that they would detect and prevent Iranian efforts to evade the sanctions.” See Dec. 8, 2017 Tr. at
1112:22-1118:7.

At the so-called “pull-aside” meeting in Turkey in February 2013, according to Szubin, Szubin warned
Atilla “one-on-one” that: “to the extent he [Atilla] was viewing this as a kind of routine discussion or . . .
visit . . . that wasn’t the case. This was a very conscious visit to Halkbank, by me, because of concerns
that were pretty serious about what was going on at Halkbank. And that we viewed them in sort of a
category unto themselves, that I wasn’t having this same level of conversation with any other bank.” See
Dec. 12, 2017 Szubin Testimony Tr. at 1436.

At another meeting at the U.S. Department of Treasury in Washington D.C. in October 2014, Atilla gave
assurances to Cohen about Halkbank’s relationship with Reza Zarrab: AUSA Lockard: “Directing your
attention to early October of 2014, did you meet with anyone from Halkbank at that time?” Cohen: “Mr.
Atilla and the new CEO of Halkbank . . . in my office in Washington . . . I wanted to know what
Halkbank’s involvement with Mr. Zarrab was.” AUSA Lockard: “Did Mr. Atilla provide any additional
details about Mr. Zarrab’s then-current business with the bank?” Cohen: “He [Atilla] mentioned that they
had a loan for some properties that Mr. Zarrab owned. My recollection is it was a relatively small
relationship . . . I was being assured that everything was okay.” See Dec. 8, 2017 Tr. at 1149:19-1152:8.


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IV.   Halkbank’s Motion to Dismiss

         Halkbank’s motion seeks to dismiss all six counts in the Indictment. Halkbank contends that it is

  immune from prosecution under the Foreign Sovereign Immunities Act (“FSIA”). See Mot. at 1.

  Halkbank also contends that the Indictment is barred by the “presumption against extraterritoriality.” Id.

  at 12. Halkbank asserts that the Court lacks personal jurisdiction over Halkbank because of the absence of

  “minimum contacts” with the United States. Id. at 8. Halkbank also seeks to dismiss Counts One, Three,

  Four, and Six on particularized individual grounds, including respectively failure to allege a conspiracy to

  defraud the U.S; failure to allege bank fraud; and failure to allege conspiracy to commit bank fraud.

  Halkbank claims that Count Six is multiplicitous of Count Two. 4

  Halkbank is Not Immune from Prosecution under the FSIA

         Halkbank argues that the Foreign Sovereign Immunities Act (FSIA) “extends [] immunity to any

  ‘instrumentality of a foreign state.’” See Mot. at 1. Immunity presumably extends to Halkbank because it

  is majority-owned by the Turkish government. Id. The Government counters persuasively that FSIA does

  not apply in criminal cases and that, even if FSIA did apply, “the statute’s ‘commercial activities’

  exception would strip away any immunity.” See Opp. at 6-7, 9-14.

         The Court concludes that Halkbank is not immune from prosecution. For one thing, FSIA does not

  appear to grant immunity in criminal proceedings. See United States v. Hendron, 813 F.Supp. 973, 975

  (E.D.N.Y. 1993); United States v. Biggs, 273 Fed. App’x 88, 89 (2d Cir. 2008); Opp. at 6-9; see also

  Southway v. Central Bank of Nigeria, 198 F.3d 1210, 1215 (10th Cir. 1999); United States v. Noriega,

  117 F.3d 1206, 1212 (11th Cir. 1997). In United States v. Hendron, the district court undertook a

  comprehensive analysis of the text and legislative history of FSIA and concluded that FSIA “applies only

  to civil proceedings.” See Hendron, 813 F.Supp. at 975. Nothing in the text of FSIA suggests that it

  applies to criminal proceedings; and the “legislative history . . . gives no hint that Congress was



  4
   Halkbank argues that “sovereign immunity,” the absence of “extraterritoriality,” and the absence of
  minimum contacts (each) void Counts One through Six. Halkbank does not appear to be seeking dismissal
  of Counts Two and Five on any particularized individual grounds.
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concerned [about] a foreign defendant in a criminal proceeding.” Hendron, 813 F.Supp. at 976; see also

In re Grand Jury Proceeding, 752 F.Supp. 2d 173, 179 (D.P.R. 2010). “The basic purpose of the [FSIA]

is to give the district courts jurisdiction to hear civil cases involving claims against foreign states, and

their instrumentalities which have waived their immunity from suit.” Corporacion Venezolana de

Fomento v. Vintero Sales Corp., 629 F.2d 786, 790 (2d Cir. 1980) (emphasis added); Verlinden B.V. v.

Cent. Bank of Nigeria, 461 U.S. 480, 488 (1983); see generally Robert A. Katzmann, Judging Statutes

(Oxford University Press, 2014) pp. 31-32 (“the fundamental task for the judge . . . is to interpret

language in light of the statute’s purpose(s)”). 5

        Even assuming, arguendo, that FSIA provided immunity in this criminal case (which it does not),

FSIA’s commercial activity exceptions would clearly apply and support the Halkbank prosecution. The

commercial activity exception provides that “a foreign state will not be immune from suit in any case: (1)

in which the action is based upon a commercial activity carried on in the United States by the foreign

state; or (2) upon an act performed in the United States in connection with a commercial activity of the

foreign state elsewhere; or (3) upon an act outside the territory of the United States in connection with a

commercial activity of the foreign state elsewhere and that act causes a direct effect in the United States.”

See Hanil Bank v. PT. Bank Negara Indonesia (Persero), 148 F.3d 127, 130-31 (2d Cir. 1998) (citing 28

U.S.C. § 1605(a)(2)).

        The Government points to Halkbank’s alleged misrepresentations made to U.S. Treasury officials

both in and outside the United States and to Halkbank’s use of U.S. banks to facilitate fraudulent

transactions in excess of $1 billion as bases for denying immunity (under the commercial activity

exception). See Opp. at 9-12. The Indictment alleges, among other things, that: (a) “Halkbank . . .

participated in the design of fraudulent transactions intended to deceive U.S. regulators and foreign banks,

and lied to U.S. regulators about Halkbank’s involvement;” (b) “Senior officers of Halkbank . . .



5
 It should be noted that not all Circuits agree with Hendron. See e.g. Keller v. Central Bank of Nigeria,
277 F.3d 811 (6th Cir. 2002).

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concealed the true nature of these transactions from officials with the U.S. Department of the Treasury so

that Halkbank could supply billions of dollars’ worth of services to the Government of Iran without

risking being sanctioned by the United States and losing its ability to hold correspondent accounts with

U.S. financial institutions;” and (c) “The purpose and effect of the scheme in which Halkbank []

participated was to create a pool of Iranian oil funds in Turkey . . . From there, the funds were used to

make international payments on behalf of the Government of Iran and Iranian banks, including transfers

in U.S. dollars that passed through the U.S. financial system in violation of U.S. sanctions laws,” see

Indictment at 1-4, 26, 34. According to the Government, Halkbank has forfeited any purported immunity

from prosecution in the U.S. See Opp. at 9-12.

       Halkbank’s business meetings, conference calls, and other interactions and communications at the

U.S. Department of Treasury described in the Indictment fall under the first commercial activity

exception. See Opp. at 11 citing Pablo Star Ltd. v. Welsh Gov’t, 961 F.3d 555 (2d Cir. 2020). They

amount to “commercial activity carried on in the United States.” 28 U.S.C. § 1605(a)(2). Halkbank’s

business meetings, conference calls, and other interactions and communications at the U.S. Department of

Treasury also fall under the second commercial activity exception. They amount to “act[s] performed in

the United States in connection with a commercial activity elsewhere,” including Halkbank’s banking

activity in Turkey. See Opp. at 10-11; 28 U.S.C. § 1605(a)(2); see also Devengoechea v. Bolivarian

Republic of Venezuela, 2016 WL 3951279, at *9 (S.D.Fl. Jan. 20, 2016); Abdulla v. Embassy of Iraq at

Washington D.C., 2013 WL 4787225, at *7 (E.D.Pa. Sept. 9, 2013).

       Halkbank’s business meetings, conference calls, and other interactions and communications with

the U.S. Department of Treasury (in and outside the U.S.) coupled with its alleged “laundering [of] more

than $1 billion through the U.S. financial system in violation of the U.S. embargo on Iran” fall under the

third commercial activity exception. They include “acts outside the territory of the United States in

connection with a commercial activity elsewhere that [] cause[d] a direct effect in the United States.” 28

U.S.C. § 1605(a)(2); see Opp. at 12; see also Atlantica Holdings v. Sovereign Wealth Fund Samruk-

Kazyna JSC, 813 F.3d 98, 109 (2d Cir. 2016); Nnaka v. Fed. Republic of Nigeria, 238 F.Supp.3d 17, 30

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(D.D.C. 2017); Hanil Bank, 148 F.3d at 131-33. At oral argument on September 18, 2020, the

Government persuasively contended that: “[y]ou have a plan by [Halkbank] and Iran, among others, to

victimize the United States and its financial institutions, which was successfully completed to the tune of

a billion dollars. So, there is no dispute, frankly, that there is a direct effect [in the United States].” See

Sept. 18, 2020 Tr. at 29:19-31:9. “While it is true that the bank helped Iran secretly transfer

approximately $20 billion-worth in violation of a host of international sanctions . . . the more than $1

billion . . . in other words, 100% of the U.S. criminal conduct . . . passed through domestic accounts.” See

Opp. at 19. “An injury knowingly caused in the United States is sufficient to satisfy the direct effect

requirement and that’s exactly what you have here.” See Sept. 18, 2020 Tr. at 31:2-5. “The gravamen of

the claim is the conspiracy and the scheme to launder money through the United States. That’s what gives

rise to criminal liability.” Id. at 29:19-31:9; see also Atlantica, 813 F.3d at 107.

        The Court also rejects Halkbank’s claim that it is entitled to immunity under the common law. See

Mot. at 1. For one thing, Halkbank cites no support for this argument. Rather, Halkbank unpersuasively

relies upon Samantar v. Yousuf, a case in which the plaintiff sued an individual foreign official “in his

personal capacity.” See Samantar v. Yousuf, 130 S.Ct. 2278, 2281 (2010); Tawfik v. al-Sabah, 2012 WL

3542209, at *2 (S.D.N.Y. Aug. 16, 2012); see also Sept. 18, 2020 Tr. at 27:4-6. Second, at common law,

“the granting or denial of . . . foreign sovereign immunity . . . was historically the case-by-case

prerogative of the Executive Branch” and courts “deferred to the decisions of . . . the Executive Branch

on whether to take jurisdiction over actions against foreign sovereigns and their instrumentalities.” See

Verlinden, 103 S.Ct. at 486; Republic of Iraq v. Beaty, 556 U.S. 848, 857 (2009); Opp. at 9. By pursuing

Halkbank’s prosecution, according to the Government, the U.S. Executive Branch “has clearly manifested

its clear sentiment that Halkbank should be denied immunity.” See Opp. at 9 (quoting Noriega, 117 F.3d

at 1212).




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The Presumption Against Extraterritoriality Does Not Bar the Charges in the Indictment

       Halkbank argues that the Indictment should be dismissed because the applicable statutes “do not

apply extraterritorially.” See Mot. at 12, 14. The Government counters persuasively that “the Indictment

involves a domestic, rather than an extraterritorial, application of the IEEPA, the bank fraud statute, the

money laundering statute, and § 371.” See Opp. at 18.

       The Court finds that the presumption against extraterritoriality does not apply. Indeed, “there is a

sufficient domestic nexus between the allegations in [the Indictment] to avoid the question of

extraterritorial application altogether.” See United States v. Mostafa, 965 F.Supp.2d 451, 469 (S.D.N.Y.

2013). According to the Government, “the very purpose of the scheme was to launder Iranian oil proceeds

through U.S. financial institutions for use to make international payments throughout the world.” See

Opp. at 18. The alleged scheme involved Halkbank’s “concealment of information from, and

misrepresentations to, U.S. government departments and officials in this country.” See Opp. at 19. And,

“at least approximately $1 billion was laundered through the U.S. . . . through domestic accounts.” See

Opp. at 3, 19; United States v. Prevezon Holdings, Ltd., 251 F.Supp.3d 684 (S.D.N.Y. 2017); United

States v. Buck, 2017 WL 4174931, at *6-8 (S.D.N.Y. Aug. 28, 2017); United States v. Hayes, 99 F. Supp.

3d 409, 422 (S.D.N.Y. 2015).

       The Indictment clearly alleges domestic application in that “Halkbank knowingly facilitated the

scheme [and] participated in the design of fraudulent transactions intended to deceive U.S. regulators;”

“Senior officers of Halkbank . . . acting within the scope of their employment and for the benefit of

Halkbank, concealed the true nature of these transactions from officials with the U.S. Department of

Treasury;” “between at least approximately December 2012 and October 2013, more than $900 million in

such transactions were conducted by U.S. financial institutions through correspondent accounts held in

the United States;” and “Halkbank continued executing the evasion and money laundering scheme until at

least in or about March 2016 . . . [and] continued to deceive Treasury officials.” See Indictment at 1-3, 26,

34; see also Force v. Facebook, 934 F.3d 53, 73 (2d Cir. 2019) (“the case involves a domestic application



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of the statute . . . the conduct relevant to the statute’s focus occurred in the United States, [and] the case

involves a permissible domestic application even if other conduct occurred abroad”). 6

The Court has Personal Jurisdiction over Halkbank

       Halkbank argues that “to meet the requirements of the Due Process Clause, the Government must

establish either (1) that Halkbank has ‘continuous and systematic’ contacts with the United States . . . or

(2) that the conduct giving rise to the alleged crimes ‘arises out of’ activities by Halkbank in the United

States.” See Mot. at 9. The Government counters correctly that “[n]either the Supreme Court nor the

Second Circuit has ever held that the [] minimum-contacts test must be satisfied for personal jurisdiction

in criminal cases.” See Opp. at 16; see also United States v. Halkbank, 426 F.Supp.3d 23, 35 (S.D.N.Y.

2019) (“While minimum contacts challenges may be appropriate in civil cases, such challenges do not

apply in criminal matters . . . Halkbank’s reliance upon minimum contacts jurisprudence is simply

misplaced.”).

       The Court clearly has personal jurisdiction over Halkbank. It is axiomatic that where, as here, a

District Court has subject matter jurisdiction over the criminal offenses charged, it also has personal

jurisdiction over the individuals charged in the indictment. 18 U.S.C. § 3231 (“The district courts of the

United States shall have original jurisdiction . . . of all offenses against the laws of the United States”);

United States v. Maruyasu Indus. Co., Ltd., 229 F.Supp.3d 659, 670 (S.D. Ohio 2017); Opp. at 15. “A

defendant need not acquiesce in or submit to the court’s jurisdiction or actually participate in the

proceedings in order for the court to have personal jurisdiction over the defendant.” United States v.

McLaughlin, 949 F.3d 780, 781 (2d Cir. 2019).




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  The Court in Zarrab’s proceedings also found that “[t]he enactment and promulgation of the IEEPA and
ITSR reflect the United States’ interest in protecting and defending itself against, among other things,
Iran’s sponsorship of international terrorism, Iran’s frustration of the Middle East peace process, and
Iran’s pursuit of weapons of mass destruction, which implicate the national security, foreign policy, and
the economy of the United States.” See Zarrab, 2016 WL 6820737, at *8; see also United States v. Vilar,
729 F.3d 62, 73 (2d Cir. 2013) (“the presumption against extraterritoriality does [not] apply . . . in
situations where the law at issue is aimed at protecting the right of the government to defend itself”);
Facebook, 934 F.3d at 73; United States v. Tajideen, 319 F.Supp.3d 445, 457 (D.D.C. 2018).
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       As noted, the Court has already rejected Halkbank’s minimum contacts personal jurisdiction

argument by Decision & Order, dated December 5, 2019. “[I]t is improper to make a personal jurisdiction

motion based upon the absence of minimum U.S. contacts in a criminal case . . . [S]uch challenges do not

apply to criminal matters . . . A federal district court has personal jurisdiction to try any defendant brought

before it on a federal indictment charging a violation of federal law.” See United States v. Halkbank, 426

F.Supp.3d 23, 35 (S.D.N.Y. 2019) (collecting cases); see also United States v. Quintieri, 306 F.3d 1217,

1225 (2d Cir. 2002) (“the law of the case doctrine . . . holds that when a court has ruled on an issue, that

decision should generally be adhered to by that court in subsequent stages in the same case”).

       Even assuming, arguendo, that “minimum contacts” were required (which they are not), the Court

would likely find that Halkbank purposefully availed itself of the United States banking system as part of

its alleged scheme. See Opp. at 16-17. “It should hardly be unforeseeable to a bank that selects and makes

use of a particular forum’s banking system that it might be subject to the burden of a lawsuit in that forum

for wrongs related to, and arising from, that use.” Licci ex rel. Licci v. Lebanese Canadian Bank, SAL,

732 F.3d 161, 171-73 (2d Cir. 2013); Nike, Inc. v. Wu, 349 F.Supp.3d 310, 330 (S.D.N.Y. Sept. 25, 2018)

(“the Banks have sufficient minimum contacts . . . as the selection and repeated use of New York’s

banking system constitutes purposeful availment of the privilege of doing business in New York”).

       The Court also finds that Halkbank’s “acts could be expected to or did produce an effect in the

United States” and that the “aim of that activity [was] to cause harm inside the United States or to U.S.

citizens or interests.” See United States v. Epskamp, 832 F.3d 154, 168 (2d Cir. 2016); Mostafa, 965 F.

Supp. 2d at 459; Opp. at 15-17.

The Indictment Alleges a Conspiracy to Defraud the United States in Count One

       Halkbank argues, among other things, that “Count One should be dismissed because the

Indictment does not allege a conspiracy to ‘defraud’ the United States” under 18 U.S.C. § 371. Mot. at

24. The Government counters persuasively that the Indictment adequately alleges a conspiracy under 18

U.S.C. § 371 because it “tracks the language of the statute and states the time and place (in approximate

terms) of the alleged crime, which is all that is required to deny a motion to dismiss.” Count One “is

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based on the bank’s concealment of information from, and misrepresentations to, U.S. government

departments and officials.” See Opp. at 1, 17, 19.

       The Court finds that the four elements of a § 371 conspiracy to defraud offense are clearly alleged,

including: “(1) that the defendant entered into an agreement; (2) to obstruct a lawful function of the

Government; (3) by deceitful or dishonest means; and (4) at least one overt act in furtherance of the

conspiracy.” See United States v. Ballistrea, 101 F.3d 827, 832 (2d Cir. 1996). That is, the Indictment

alleges that, “[f]rom at least in or about 2012, up to and including in or about 2016, in the Southern

District of New York, Turkey, the United Arab Emirates, and elsewhere . . . Halkbank . . . and others

known and unknown, knowingly and willfully combined, conspired, confederated, and agreed together

and with each other to defraud the United States and an agency thereof, to . . . impede and obstruct the

lawful and legitimate governmental functions and operations of the U.S. Department of Treasury in the

enforcement of economic sanctions laws and regulations administered by that agency.” The Indictment

also alleges that: “Throughout the scheme, senior executives from Halkbank [] took steps to prevent U.S.

authorities, particularly OFAC [Office of Foreign Assets Control], from detecting the illicit nature of the

transfers being conducted through Zarrab’s companies;” and “[a]fter continuation of the scheme following

Zarrab’s arrest, officials at Halkbank [] continued to deceive Treasury officials about the bank’s

relationship with Zarrab.” See Indictment at 34-35; United States v. Tochelmann, 1999 WL 294992, at *2

(S.D.N.Y. May 11, 1999).

       In affirming Atilla’s conviction, the Court of Appeals held: “Atilla’s challenge to his § 371

conviction fails because § 371’s defraud clause was properly applied to his case . . . it has been well

established that the term ‘defraud’ in § 371 . . . embraces ‘any conspiracy for the purpose of impairing,

obstructing, or defeating the lawful function of any department of Government.’” United States v. Atilla,

966 F.3d 118, 130 (2d Cir. 2020) (internal citations and quotations omitted).

The Indictment Alleges Bank Fraud in Count Three

       Halkbank argues that the Indictment “fails to allege a scheme to defraud a U.S. bank.” See Mot. at

18. The Government counters persuasively that the Indictment “tracks the language of the bank fraud

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statute and states the time and place (in approximate terms) of the alleged crime, which is all that is

required to deny a motion to dismiss.” See Opp. at 21 (internal citations omitted).

       The Indictment clearly alleges bank fraud in violation of 18 U.S.C. § 1344 which prohibits

“knowingly execut[ing], or attempt[ing] to execute a scheme or artifice (1) to defraud a financial

institution; or (2) to obtain any of the money, funds, credits, assets, securities, or other property owned by,

or under the custody or control of, a financial institution, by means of false or fraudulent pretenses,

representations or promises.” The Indictment, as noted, states that “[f]rom at least in or about 2012, up to

and including in or about 2016, in the Southern District of New York, Turkey, the United Arab Emirates,

and elsewhere . . . Halkbank . . . and others . . . did knowingly execute and attempt to execute a scheme or

artifice to defraud a financial institution, the deposits of which were then insured by the Federal Deposit

Insurance Corporation . . . and to obtain moneys, funds . . . and other property owned by and under the

custody and control of such financial institution, by means of false and fraudulent pretenses,

representations, and promises . . . inducing U.S. financial institutions to conduct financial transactions on

behalf of and for the benefit of the Government of Iran . . . by deceptive means.” Indictment at 38.

       The Indictment also provides details of the scheme to defraud U.S. banks, stating that “[t]he

purpose and effect of the scheme . . . was to create a pool of Iranian oil funds . . . in the names of front

companies, which concealed the funds’ Iranian nexus . . . to make international payments on behalf of the

Government of Iran . . . that passed through the U.S. financial system;” that “such transactions were

conducted by U.S. financial institutions through correspondent accounts held in the United States;” and

that “at least approximately $1 billion was laundered through unwitting U.S. financial institutions.” Id. at

3-4, 26, 34.

The Indictment Alleges Conspiracy to Commit Bank Fraud in Count Four

       Halkbank argues that the Indictment “fails to allege . . . a conspiracy to commit bank fraud.” See

Mot. at 18. The Government counters persuasively that the Indictment tracks the language of the bank

fraud conspiracy statute (18 U.S.C. § 1349) and states the time and place in approximate terms of the

alleged crime. See Opp. at 21.

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        The Court finds that the Indictment clearly alleges a conspiracy to commit bank fraud in violation

 of 18 U.S.C. § 1349 by stating that “[f]rom at least in or about 2012, up to and including in or about 2016,

 in the Southern District of New York, Turkey, the United Arab Emirates, and elsewhere . . . Halkbank . . .

 and others . . . knowingly and willfully combined, conspired, confederated, and agreed together and with

 each other to commit bank fraud.” See Indictment at 38-39. The Indictment “tracks the statutory language

 and specifies the nature of the criminal activity . . . [sufficient] to withstand a motion to dismiss.” United

 States v. Citron, 783 F.2d 307, 314 (2d Cir. 1986).

 Halkbank’s Contention that Count Six is Multiplicitous is Denied

        Halkbank contends that Count Two (conspiracy to violate the IEEPA) and Count Six (conspiracy

 to commit money laundering) are multiplicitous because “the government details the same scheme

 consisting of the same transfers of funds, from the same accounts, on the same dates as the basis for the

 two charges.” See Mot. at 22, 24. The Government counters that because Count Two and Count Six are

 “distinct offenses” the Court should reject the bank’s multiplicity argument. The Government also argues

 that “a pre-trial multiplicity motion is premature.” See Opp. at 23-24.

        “Courts in this Circuit have routinely denied pre-trial motions to dismiss potentially multiplicitous

 counts as premature.” See United States v. Medina, 2014 WL 3057917, at *3 (S.D.N.Y. July 7, 2014)

 (citing United States v. Josephberg, 459 F.3d 350, 355 (2d Cir. 2006)). If the Court were to deal with the

 issue on the merits at this time, it would likely reject the motion because Count Two and Count Six each

 “contains an element not contained in the other” and “one crime could be proven without necessarily

 establishing the other.” See United States v. Budovsky, 2015 WL 5602853, at *11 (S.D.N.Y. Sept. 23,

 2015); United States v. Regensberg, 604 F.Supp.2d 625, 633 (S.D.N.Y. 2009); Opp. at 23-24.

V.   Conclusion & Order

        Halkbank’s motion to dismiss [Dck. # 645] is respectfully denied.

 Dated: New York, New York
        October 1, 2020
                                                        _______________________________
                                                         RICHARD M. BERMAN, U.S.D.J.


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